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 9
10                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
11
12   MIGUEL NAPOLES, individually and )              Case No.
     on behalf of all others similarly situated, )
13
                                                 )   CLASS ACTION
14   Plaintiff,                                  )
                                                 )   COMPLAINT FOR VIOLATIONS
15
            vs.                                  )   OF:
16                                               )
     DENT-A-MED INC. dba HC                      )      1.      NEGLIGENT VIOLATIONS
17                                                              OF THE TELEPHONE
     PROCESSING; and DOES 1-10,                  )              CONSUMER PROTECTION
18   inclusive,                                  )              ACT [47 U.S.C. §227 ET
19                                               )              SEQ.]
                                                        2.      WILLFUL VIOLATIONS
     Defendant.                                  )              OF THE TELEPHONE
20
                                                 )              CONSUMER PROTECTION
21                                               )              ACT [47 U.S.C. §227 ET
                                                                SEQ.]
22                                               )      3.      VIOLATIONS OF THE
                                                 )              ROSENTHAL FAIR DEBT
23                                               )              COLLECTION PRACTICES
                                                                ACT [CAL. CIV. CODE
24                                               )              §1788 ET SEQ.]
                                                 )
25
                                                 )   DEMAND FOR JURY TRIAL
26
27
           Plaintiff MIGUEL NAPOLES (“Plaintiff”), individually and on behalf of all
28
     others similarly situated, alleges the following against Defendant DENT-A-MED


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 1   INC. dba HC PROCESSING upon information and belief based upon personal
 2   knowledge:
 3                                  INTRODUCTION
 4         1.     Plaintiff’s Class Action Complaint is brought pursuant to the
 5   Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).
 6         2.     Plaintiff, individually, and on behalf of all others similarly situated,
 7   brings this Complaint for damages, injunctive relief, and any other available legal
 8
     or equitable remedies, resulting from the illegal actions of Defendant            in
 9
     negligently, knowingly, and/or willfully contacting Plaintiff no Plaintiff’s cellular
10
     telephone, thereby the TCPA, 47 U.S.C. § 227. Plaintiff alleges as follows upon
11
     personal knowledge as to herself and her own acts and experiences, and, as to all
12
     other matters, upon information and belief, including investigation conducted by
13
     his attorneys.
14
           3.     In addition to Plaintiff’s Class Claims, Plaintiff also brings an action
15
16
     for damages as an individual consumer for Defendant’s violations the Rosenthal

17   Fair Debt Collection Practices Act, Cal Civ. Code §1788, et seq. (hereinafter

18   “RFDCPA”) which prohibits debt collectors from engaging in abusive, deceptive,
19   and unfair practices.
20                            JURISDICTION AND VENUE
21
           4.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,

22   a resident of California, seeks relief on behalf of a Class, which will result in at

23   least one class member belonging to a different state than that of Defendant, a
24   Arkansas company that does business in California and other States. Plaintiff also
25   seeks up to $1,500.00 in damages for each call in violation of the TCPA, which,
26   when aggregated among a proposed class in the thousands, exceeds the
27   $5,000,000.00 threshold for federal court jurisdiction. Therefore, both diversity
28   jurisdiction and the damages threshold under the Class Action Fairness Act of 2005


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 1   (“CAFA”) are present, and this Court has jurisdiction.

 2         5.       Alternatively, this Court has jurisdiction over Plaintiff’s TCPA claims
 3   pursuant to 28 U.S.C. § 1331.
 4         6.       Ancillary to Plaintiff’s TCPA claims, this Court has jurisdiction
 5   pursuant to 28 U.S.C. § 1367(a) over Plaintiff’s claims arising under the RFDCPA,
 6   Cal. Civ. Code § 1788, et seq. because they arise under the same case or
 7   controversy.
 8         7.       Venue is proper in the United States District Court for the Central
 9   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
10
     business within the State of California and Plaintiff resides within this District.
11
                                           PARTIES
12
13
           8.       Plaintiff, MIGUEL NAPOLES (“Plaintiff”), is a natural person

14   residing in Los Angeles County in the state of California, and is a “person” as

15   defined by 47 U.S.C. § 153(39). Furthermore, Plaintiff is a “debtor” as defined by
16   the RFDCPA, Cal. Civ. Code § 1788.2(h).
17         9.       At all relevant times herein, Defendant, DENT-A-MED INC. dba HC
18   PROCESSING (“Defendant”), is dental service company engaged in collection
19   activity in connection with debts allegedly owed to it, and is a “person” as defined
20   by 47 U.S.C. § 153(39). Furthermore, Defendant, at all relevant times herein, was
21   a company engaged, by use of the mails and telephone, in the business of collecting
22   an alleged debt from Plaintiff which qualifies as a “consumer debt” as defined by
23   the RFDCPA, Cal. Civ. Code § 1788.2(f). Defendant regularly attempts to collect
24
     debts in the ordinary course of its business, and therefore is a “debt collector” as
25
     defined by the RFDCPA, Cal. Civ. Code § 1788.2(c).
26
27
28



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 1         10.     Defendants acted through their agents, employees, officers, members,
 2   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 3   representatives, and insurers.
 4         11.     The above named Defendant, and its subsidiaries and agents, are
 5   collectively referred to as “Defendants.” The true names and capacities of the
 6
     Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 7
     currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 8
     names. Each of the Defendants designated herein as a DOE is legally responsible
 9
     for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
10
     the Complaint to reflect the true names and capacities of the DOE Defendants
11
     when such identities become known.
12
           12.     Plaintiff is informed and believes that at all relevant times, each and
13
14
     every Defendant was acting as an agent and/or employee of each of the other

15   Defendants and was acting within the course and scope of said agency and/or

16   employment with the full knowledge and consent of each of the other Defendants.
17   Plaintiff is informed and believes that each of the acts and/or omissions
18   complained of herein was made known to, and ratified by, each of the other
19   Defendants.
20                         FACTUAL ALLEGATIONS – TCPA
21
22         13.     Beginning in or around April of 2017, Defendant contacted Plaintiff
23   on his cellular telephone number ending in -3403, in an effort to collect an alleged
24   debt owed from Plaintiff.
25         14.     Defendant called Plaintiff from telephone numbers confirmed to
26   belong to Defendant, including without limitation (401) 429-0755.
27         15.     In its efforts to collect the alleged debt owed from Plaintiff, Defendant
28   used an “automatic telephone dialing system,” as defined by 47 U.S.C. § 227(a)(1)


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 1   to place its daily calls to Plaintiff seeking to collect an alleged debt owed.

 2         16.    Defendant’s calls constituted calls that were not for emergency
 3   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
 4         17.    Defendant’s calls were placed to telephone number assigned to a
 5   cellular telephone service for which Plaintiff incurs a charge for incoming calls
 6   pursuant to 47 U.S.C. § 227(b)(1).
 7         18.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 8   express consent” to receive calls using an automatic telephone dialing system or an
 9   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
10
     227(b)(1)(A).
11
           19.    Plaintiff alleged upon information and belief that Defendant failed to
12
     put in place reasonable policies and procedures to avoid violation of the TCPA.
13
14                       FACTUAL ALLEGATIONS – RFDCPA
15         20.    In addition to the facts pled above, at various times prior to the filing
16   of the instant complaint, including within one year preceding the filing of this
17   complaint, Defendant contacted Plaintiff in an attempt to collect an alleged
18   outstanding debt.
19         21.    On or about April of 2017, Plaintiff began receiving numerous calls
20   from Defendant.
21         22.    Each of these calls were made to Plaintiff in connection with
22   collection on an alleged debt.
23
           23.    The RFDCPA, Cal. Civ. Code § 1788.17 mandates that every debt
24
     collector collecting or attempting to collect a consumer debt shall comply with the
25
     Federal Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692b
26
     through 1692j and be subject to the remedies in the FDCPA, 15 U.S.C. § 1692k.
27
           24.    DEFENDANT’S conduct violated the RFDCPA in multiple ways,
28



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 1   including but not limited to:
 2
                   a) Causing a telephone to ring repeatedly or continuously to annoy
 3                    Plaintiff (Cal. Civ. Code § 1788.11(d));
 4
                   b) Communicating, by telephone or in person, with Plaintiff with such
 5                    frequency as to be unreasonable and to constitute an harassment to
 6                    Plaintiff under the circumstances (Cal. Civ. Code § 1788.11(e));
 7
                   c) Causing Plaintiffs telephone to ring repeatedly or continuously with
 8                    intent to harass, annoy or abuse Plaintiff (15 U.S.C. § 1692d(5));
 9
                   d) Communicating with Plaintiff at times or places which were known
10                    or should have been known to be inconvenient for Plaintiff (15
11                    U.S.C. § 1692c(a)(1)); and
12                 e) Engaging in conduct the natural consequence of which is to harass,
13                    oppress, or abuse Plaintiff (15 U.S.C. § 1692d)).
14
             25.      As a result of the above violations of the RFDCPA, Plaintiff suffered
15
     and continues to suffer injury to Plaintiff’s feelings, personal humiliation,
16
     embarrassment, mental anguish and emotional distress, and Defendant is liable to
17
     Plaintiff for Plaintiff’s actual damages, statutory damages, and costs and attorney’s
18
19
     fees.

20                             CLASS ACTION ALLEGATIONS

21           26.      Plaintiff brings this action individually and on behalf of all others
22   similarly situated, as a member of the proposed class (hereafter “The Class”)
23   defined as follows:
24                    All persons within the United States who received any
25                    telephone calls from Defendant to said person’s cellular
                      telephone made through the use of any automatic
26
                      telephone dialing system or an artificial or prerecorded
27                    voice and such person had not previously consented to
28                    receiving such calls within the four years prior to the
                      filing of this Complaint

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 1
           27.    Plaintiff represents, and is a member of, The Class, consisting of All
 2
     persons within the United States who received any collection telephone calls from
 3
     Defendant to said person’s cellular telephone made through the use of any
 4
     automatic telephone dialing system or an artificial or prerecorded voice and such
 5
     person had not previously not provided their cellular telephone number to
 6
     Defendant within the four years prior to the filing of this Complaint.
 7
           28.    Defendant, its employees and agents are excluded from The Class.
 8
     Plaintiff does not know the number of members in The Class, but believes the Class
 9
     members number in the thousands, if not more. Thus, this matter should be
10
     certified as a Class Action to assist in the expeditious litigation of the matter.
11
           29.    The Class is so numerous that the individual joinder of all of its
12
     members is impractical. While the exact number and identities of The Class
13
     members are unknown to Plaintiff at this time and can only be ascertained through
14
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
15
     The Class includes thousands of members.           Plaintiff alleges that The Class
16
     members may be ascertained by the records maintained by Defendant.
17
           30.    Plaintiff and members of The Class were harmed by the acts of
18
     Defendant in at least the following ways: Defendant illegally contacted Plaintiff
19
     and Class members via their cellular telephones thereby causing Plaintiff and Class
20
     members to incur certain charges or reduced telephone time for which Plaintiff and
21
     Class members had previously paid by having to retrieve or administer messages
22
     left by Defendant during those illegal calls, and invading the privacy of said
23
     Plaintiff and Class members.
24
           31.    Common questions of fact and law exist as to all members of The
25
     Class which predominate over any questions affecting only individual members of
26
     The Class. These common legal and factual questions, which do not vary between
27
     Class members, and which may be determined without reference to the individual
28



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 1   circumstances of any Class members, include, but are not limited to, the following:
 2                a.    Whether, within the four years prior to the filing of this
 3                      Complaint, Defendant made any collection call (other than a
 4                      call made for emergency purposes or made with the prior
 5                      express consent of the called party) to a Class member using
 6                      any automatic telephone dialing system or any artificial or
 7                      prerecorded voice to any telephone number assigned to a
 8                      cellular telephone service;
 9                b.    Whether Plaintiff and the Class members were damages
10                      thereby, and the extent of damages for such violation; and
11                c.    Whether Defendant should be enjoined from engaging in such
12                      conduct in the future.
13         32.    As a person that received numerous collection calls from Defendant
14   using an automatic telephone dialing system or an artificial or prerecorded voice,
15   without Plaintiff’s prior express consent, Plaintiff is asserting claims that are
16   typical of The Class.
17         33.    Plaintiff will fairly and adequately protect the interests of the members
18   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
19   class actions.
20         34.    A class action is superior to other available methods of fair and
21   efficient adjudication of this controversy, since individual litigation of the claims
22   of all Class members is impracticable. Even if every Class member could afford
23   individual litigation, the court system could not. It would be unduly burdensome
24   to the courts in which individual litigation of numerous issues would proceed.
25   Individualized litigation would also present the potential for varying, inconsistent,
26   or contradictory judgments and would magnify the delay and expense to all parties
27   and to the court system resulting from multiple trials of the same complex factual
28   issues. By contrast, the conduct of this action as a class action presents fewer


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 1   management difficulties, conserves the resources of the parties and of the court
 2   system, and protects the rights of each Class member.
 3         35.    The prosecution of separate actions by individual Class members
 4   would create a risk of adjudications with respect to them that would, as a practical
 5   matter, be dispositive of the interests of the other Class members not parties to such
 6   adjudications or that would substantially impair or impede the ability of such non-
 7   party Class members to protect their interests.
 8         36.    Defendant has acted or refused to act in respects generally applicable
 9   to The Class, thereby making appropriate final and injunctive relief with regard to
10   the members of The Class as a whole.
11                             FIRST CAUSE OF ACTION
12          Negligent Violations of the Telephone Consumer Protection Act
13                                 47 U.S.C. §227 et seq.
14                    By Plaintiff and The Class Against Defendant
15         37.    Plaintiff repeats and incorporates by reference into this cause of
16   action the allegations set forth above at Paragraphs 1-36.
17         38.    The foregoing acts and omissions of Defendant constitute numerous
18   and multiple negligent violations of the TCPA, including but not limited to each
19   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
20         39.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
21   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
22   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
23         40.    Plaintiff and the Class members are also entitled to and seek
24   injunctive relief prohibiting such conduct in the future.
25   ///
26   ///
27   ///
28   ///


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 1                            SECOND CAUSE OF ACTION
 2     Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                            Act
 4                                  47 U.S.C. §227 et seq.
 5                     By Plaintiff and The Class Against Defendant
 6           41.   Plaintiff repeats and incorporates by reference into this cause of
 7    action the allegations set forth above at Paragraphs 1-36.
 8           42.   The foregoing acts and omissions of Defendant constitute numerous
 9    and multiple knowing and/or willful violations of the TCPA, including but not
10    limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
11    seq.
12           43.   As a result of Defendant’s knowing and/or willful violations of 47
13    U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
14    $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
15    § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16           44.   Plaintiff and the Class members are also entitled to and seek
17    injunctive relief prohibiting such conduct in the future.
18                              THIRD CAUSE OF ACTION
19            Violations of the Rosenthal Fair Debt Collection Practices Act
20                              Cal. Civ. Code § 1788 et seq.
21                     By Plaintiff, Individually, Against Defendant
22
23           45.   Plaintiff repeats and reincorporates by reference into this cause of

24    action allegations set forth above at paragraphs 1-25.
25
             46.   To the extent that Defendant’s actions, counted above, violated the
26
27    RFDCPA, those actions were done knowingly and willfully.
28
      ///


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 1                                  PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff requests judgment against Defendant for the
 3
      following:
 4
 5                               FIRST CAUSE OF ACTION
 6          Negligent Violations of the Telephone Consumer Protection Act
 7                                   47 U.S.C. §227 et seq.
 8                  As a result of Defendant’s negligent violations of 47 U.S.C.
 9                  §227(b)(1), Plaintiff and the Class members are entitled to and
10                  request $500 in statutory damages, for each and every violation,
11                  pursuant to 47 U.S.C. 227(b)(3)(B).
12                  Any and all other relief that the Court deems just and proper.
13                             SECOND CAUSE OF ACTION
14     Knowing and/or Willful Violations of the Telephone Consumer Protection
15                                             Act
16                                   47 U.S.C. §227 et seq.
17                  As a result of Defendant’s willful and/or knowing violations of 47
18                  U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
19                  and request treble damages, as provided by statute, up to $1,500, for
20                  each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
21                  U.S.C. §227(b)(3)(C).
22                  Any and all other relief that the Court deems just and proper.
23                               THIRD CAUSE OF ACTION
24           Violations of the Rosenthal Fair Debt Collection Practices Act
25                               Cal. Civ. Code § 1788 et seq.
26
            WHEREFORE, Plaintiff respectfully prays that judgment be entered against
27
28    Defendant for the following:


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 1                 A.     Actual damages;
 2                 B.     Statutory damages for willful and negligent violations;
 3                 C.     Costs and reasonable attorney’s fees;
 4                 D.     For such other and further relief as may be just and proper.
 5
                                       TRIAL BY JURY
 6
            47.    Pursuant to the seventh amendment to the Constitution of the United
 7
      States of America, Plaintiff is entitled to, and demands, a trial by jury.
 8
 9                 Respectfully submitted this 10th Day of April, 2018.
10
11
12                               LAW OFFICES OF TODD M. FRIEDMAN, P.C.
13
14                               By:   /s/ Todd M. Friedman
15                                     Todd M. Friedman
16
                                       Law Offices of Todd M. Friedman
                                       Attorney for Plaintiff
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